     8:16-cv-01957-DCC         Date Filed 05/24/18     Entry Number 80       Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  ANDERSON DIVISION

                                            )
                                            )
 John Doe,                                  )            CA: 8:16-CV-01957-DCC
                                            )
                 Plaintiff,                 )
                                            )
                    v.                      )
                                            )
 Clemson University, Clemson
                                            )
 University Board of Trustees, James        )
 P. Clements, individually and as agent     )
 for Clemson University, Almeda             )       MOTION TO FILE UNDER SEAL
 Jacks, individually and as agent of        )
 Clemson University, Alesia Smith,          )
 individually and as agent of Clemson       )
                                            )
 University, Suzanne Price,
                                            )
 individually and as agent of Clemson       )
 University, Loreto Jackson,                )
 individually and as agent of Clemson       )
 University, David Frock, individually      )
 and as agent of Clemson University,        )
                                            )
               Defendants.                  )



       COMES NOW Clemson University, Clemson University Board of Trustees, James P.

Clements, individually and as agent for Clemson University, Almeda Jacks, individually and as

agent of Clemson University, Alesia Smith, individually and as agent of Clemson University,

Suzanne Price, individually and as agent of Clemson University, Loreto Jackson, individually and

as agent of Clemson University, David Frock, individually and as agent of Clemson University

(hereinafter collectively “Clemson Defendants”), by and through undersigned counsel, and move




                                                1
       8:16-cv-01957-DCC              Date Filed 05/24/18          Entry Number 80            Page 2 of 2




this Court for an Order pursuant to Local Civ. Rule 5.03 D.S.C. to file their Memorandum in

Support of Motion to Enforce Settlement (the “Memorandum”) under seal. 1

         Defendants’ Memorandum and attached exhibits contain or reference information

protected under confidentiality provisions of Local Civ. Rule 16.08(C) D.S.C. regarding the

confidentiality of mediation. Furthermore, Defendants’ Memorandum and attached exhibits

contain or reference information which is protected under this Court’s Order Granting Plaintiff’s

Motion to Proceed Under Pseudonym (ECF No. 28). Accordingly, Defendants respectfully request

the Court allow the filing of their Memorandum in Support of Motion to Enforce Settlement

Agreement under seal.

         Undersigned counsel certifies that the present Motion complies with Local Civ. Rule 5.03.

D.S.C.

                                                      Respectfully submitted,

                                                      WILLSON JONES CARTER & BAXLEY, P.A.


                                                       s/ Charles F. Turner, Jr.
                                                      Charles F. Turner, Jr. (Fed. ID #5849)
                                                      Wilson S. Sheldon (Fed. ID # 5464)
                                                      Andrew F. Carson (Fed. ID #11247)
                                                      872 S. Pleasantburg Drive
                                                      Greenville, SC 29607
                                                      (864) 672-3711 (phone)
                                                      (864) 373-7055 (fax)
                                                      cfturner@wjlaw.net
                                                      wssheldon@wjlaw.net
                                                      afcarson@wjlaw.net

                                                      ATTORNEYS FOR DEFENDANTS
Greenville, South Carolina
May 24, 2018



1
 Pursuant to Local Civil Rules 7.04 and 7.05, DSC, Defendants state that a full explanation of the Motion is provided
herein and, therefore, an additional supporting memorandum would serve no useful purpose.



                                                         2
